Case 2:20-cv-08694-DMG-PVC Document 10 Filed 09/30/21 Page 1 of 2 Page ID #:107



   1
   2
   3
   4
   5
   6
   7
   8                           UNITED STATES DISTRICT COURT
   9                         CENTRAL DISTRICT OF CALIFORNIA
  10
  11   TRAVIS D. ARNOLD,                              Case No. CV 20-8694 DMG (PVC)
  12                        Petitioner,
                                                      ORDER ACCEPTING FINDINGS,
  13          v.                                      CONCLUSIONS AND
                                                      RECOMMENDATIONS OF UNITED
  14   FELIPE MARTINEZ, JR., Warden,                  STATES MAGISTRATE JUDGE
  15                        Respondent.
  16
  17          Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the records and
  18   files herein, the Report and Recommendation of the United States Magistrate Judge, and
  19   Petitioner’s “Motion to Object to Magistrate Judge’s Recommendation,” which, although
  20   apparently filed in response to the Court’s Order to Show Cause, is functionally and
  21   substantively an objection to the recommendations in the Report and Recommendation
  22   and is thereby construed as such. After having made a de novo determination of the
  23   portions of the Report and Recommendation to which Objections were directed, the Court
  24   concurs with and accepts the findings and conclusions of the Magistrate Judge.
  25
  26          IT IS ORDERED that the Petition is denied and Judgment shall be entered
  27   dismissing this action without prejudice. Petitioner’s request for leave to proceed in
  28   forma pauperis [Doc. # 4] is DENIED as moot.
Case 2:20-cv-08694-DMG-PVC Document 10 Filed 09/30/21 Page 2 of 2 Page ID #:108
